 USDC IN/ND case 3:10-cr-00126-JD             document 269       filed 06/30/14     page 1 of 3


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION
 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )   Case No. 3:10-CR-120 JD
                                              )            3:10-CR-126 (02) JD
 JEREMIE SHENEMAN                             )


                                   OPINION AND ORDER

       After being convicted of and sentenced on seven counts of wire fraud in the above-

captioned cases (‘120 and ‘126), Defendant Jeremie Sheneman’s convictions were affirmed on

appeal without oral argument. United States v. Sheneman, 538 F. App’x 722 (7th Cir. 2013). Mr.

Sheneman thereafter filed a petition for a writ of certiorari, which the Supreme Court denied on

June 16, 2014. Sheneman v. United States, 2014 WL 1921774 (U.S. June 16, 2014). As detailed

in this Court’s March 28, 2014 order, Mr. Sheneman previously filed a number of motions with

this Court asking that his convictions be vacated, which would have to be construed as seeking

relief under 28 U.S.C. § 2255. [‘120 DE 207; ‘126 251]. However, the Court dismissed those

filings with leave to refile because Mr. Sheneman’s direct appeal was still pending and he also

requested that they not be considered § 2255 motions. [‘120 DE 207; ‘126 251].

       Now that his direct appeal has concluded, Mr. Sheneman has filed a motion entitled

“Motion to Vacate Cases Due to Lack of Subject Matter and Federal Jurisdiction.” [‘120 DE

208; ‘126 DE 268]. Mr. Sheneman raises a variety of arguments in favor of vacating his

convictions for lack of jurisdiction, relief which would only be available to him through 28

U.S.C. § 2255. However, he concludes his motion by stating: “As requested by the Court all

other issues will be combined in a 2255 but not jurisdiction as that may be raised anytime

according to the law.”
 USDC IN/ND case 3:10-cr-00126-JD                  document 269    filed 06/30/14     page 2 of 3


       Whether Mr. Sheneman’s arguments are jurisdictional or not, the only procedural

mechanism through which the Court could vacate his sentence is a motion under § 2255. 28

U.S.C. § 2255 (permitting a court to vacate a conviction where “the judgment was rendered

without jurisdiction”). Thus, in order to consider his request on its merits, the Court would have

to construe it under that section. However, as previously noted, once Mr. Sheneman files one

motion under § 2255 (or the Court construes one of his motions under § 2255), he must obtain

permission from the court of appeals prior to filing a second or successive motion. Rule 9 of the

Rules Governing Section 2255 Proceedings for the United States District Court; Carter v. United

States, 312 F.3d 832, 833 (7th Cir. 2002) (“[A] motion that is functionally a section 2255 motion

is a section 2255 motion for purposes of AEDPA.”). This would likely preclude Mr. Sheneman

from raising any further grounds for contesting his conviction or sentence, “[f]or with limited

exceptions the Antiterrorism and Effective Death Penalty Act, which governs collateral attacks

on criminal judgments, gives a prisoner only one shot at postconviction review.” Carter, 312

F.3d at 833. It is unlikely that Mr. Sheneman intends this result, as he indicated in his motion that

he still intends to file a separate 2255 motion.

       “[A]lthough a postconviction motion that is functionally a section 2255 motion should be

treated as such however it is labeled, before doing so the district judge must notify the movant of

what he intends to do, to give the movant a chance to withdraw the motion.” Id. at 832–33.

Accordingly, the Court hereby NOTIFIES Mr. Sheneman that it can only consider his motion by

construing it under § 2255, which may preclude his ability to request any further relief from his

conviction or sentence under that section. If, as it appears from his motion, Mr. Sheneman

intends to raise any other claims under § 2255, he may withdraw his present motion and raise all

of his claims, including these, in a single § 2255 motion filed no later than June 16, 2015. Mr.



                                                    2
 USDC IN/ND case 3:10-cr-00126-JD             document 269       filed 06/30/14     page 3 of 3


Sheneman is DIRECTED to notify the Court by July 28, 2014 as to whether he wishes to

withdraw his Motion to Vacate Cases Due to Lack of Subject Matter and Federal Jurisdiction.

Otherwise, since that motion seeks to vacate his convictions, the Court will construe it under

§ 2255 and proceed accordingly.

       SO ORDERED.

       ENTERED: June 30, 2014


                                                     /s/ JON E. DEGUILIO
                                             Judge
                                             United States District Court




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